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 2
 3                                UNITED STATES DISTRICT COURT
 4                                        DISTRICT OF NEVADA
 5
 6   UNITED STATES OF AMERICA,                 )
                                               )
 7                     Plaintiff,              )                  Case No. 2:11-cr-00442-GMN-GWF
                                               )
 8   vs.                                       )                  ORDER
                                               )
 9   ERIC TYRONE JACKSON,                      )
                                               )
10                     Defendant.              )
     __________________________________________)
11
12          On June 10, 2016, the Court appointed Gordon R. Goolsby, Esq. for the limited purpose of
13   determining whether Defendant may qualify for federal habeas relief under 28 U.S.C. § 2255 in
14   light of Johnson v. United States, 135 S.Ct. 2551 (2015). (See ECF No. 260, 261). The Court’s
15   Order gave Mr. Goolsby one hundred and twenty (120) days to file an appropriate motion or
16   stipulation. However, pursuant to the District of Nevada First Amended General Order 2015-03 (D.
17   Nev. 2016) such a motion or stipulation is due no later than June 26, 2016. Therefore, Mr. Goolsby
18   is informed that he must file any appropriate motion or stipulation by that deadline. Mr. Goolsby
19   may file an abridged § 2255 motion pursuant to the First Amended General Order, with a
20   supplemental motion to follow by December 26, 2016. (See First Amended General Order 2015-03
21   (D. Nev. 2016)). If a § 2255 motion is filed, the Court will issue a briefing schedule if the Court
22   deems it necessary. Accordingly,
23          IT IS HEREBY ORDERED that Mr. Goolsby is directed to file any appropriate motion or
24   stipulation by the June 26, 2016 deadline.
25          DATED this 21st day of June, 2016.
26
27                                                 ______________________________________
                                                   GEORGE FOLEY, JR.
28                                                 United States Magistrate Judge
